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        CONTINUATION OF APPLICATION FOR SEARCH WARRANT

                               I. APPLICANT INFORMATION

    1. I, Timothy Kruithoff, have been employed as a Special Agent with the Department
of Homeland Security Investigations (HSI) since August 2002. Prior to becoming a Special
Agent, I was employed as U.S. Customs Inspector. As part of my duties as an HSI Special
Agent, I investigate criminal violations relating to child exploitation and child pornography
including violations pertaining to the sexual exploitation of children (i.e. production of
child pornography), in violation of 18 U.S.C. § 2251(a) and violations pertaining to the
illegal production, distribution, receipt, and possession of child pornography, in violation
of 18 U.S.C. §§ 2252A(a). I have received training in the area of child pornography and
child exploitation, and I have had the opportunity to observe and review numerous
examples of child pornography (as defined in 18 U.S.C. § 2256(8)) in many forms of
media, including computer media.

    2. This continuation is based on my training, knowledge, education, and experience
in the investigation of violations of federal criminal laws, my conversations with witnesses
and other law enforcement officers, my review of relevant documents, and my personal
observations. Because it is submitted for the limited purpose of establishing probable cause
to search for evidence, this summary does not necessarily recite all of the facts of the
underlying investigation that are known to me or to other investigators at this time. For
the reasons I explain in this continuation, I submit there is probable cause to believe that
property will be found at the place to be searched, and that this property will constitute
evidence of the criminal violations of the following statutes: 18 U.S.C. § 2251(a) - Sexual
Exploitation of Children (i.e. production of child pornography); 18 U.S.C. §§ 2252A(a)(2)
(distribution or receipt of child pornography) and 2252A(a)(5)(B) (possession of child
pornography). The property I am seeking authorization to search and seize includes
information (consistent with Fed. R. Crim. P. 41(a)(2)(A)) and is as described particularly
in Attachment “B” to the Search Warrant Application

      3. I am advised by the United States Attorney’s Office that, per 18 U.S.C. §
2256(8)(a), “child pornography” means “any visual depiction, including any photograph,
film, video, picture, or computer or computer-generated image or picture, whether made or
produced by electronic, mechanical, or other means, of sexually explicit conduct, where .
. . the production of such visual depiction involves the use of a minor engaging in sexually
explicit conduct[.]”

    4. I am currently investigating WESTLEY JAMES KEYES, a 39-year-old man who
maintains an address at 168 Thelma Drive, Emmet Township (Battle Creek), Michigan,
the “SUBJECT PREMISES”.

           a. In September of 2021 Homeland Security Investigations (HSI) Grand
              Rapids received information from the HSI Cyber Crime Center (C3) Child
              Exploitation Investigations Unit (CEIU) Victim Identification Program/Lab
              team in regards to a lead from the Queensland Police Service (QPS) Child
              Abuse & Sexual Crime Group Task Force ARGOS, consisting of current

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               and former Law Enforcement personnel, regarding forty two (42) child
               abuse images and fourteen (14) non-abuse images first shared by the Tor
               user/profile ‘hotlips666’ on a dark web child exploitation chat site/forum
               from May of 2020. Some of the images were found to have had EXIF data
               embedded within the images.

           b. Investigators used the EXIF data (EXIF stands for Exchangeable Image File
              Format and refers to the basic metadata that is generated and stored by a
              camera when taking an image) to identify a female teenager (Minor 1)
              depicted in non-abuse images. A forensic interview of Minor 1 was
              conducted on January 10, 2022. During the interview Minor 1 provided
              information which identified KEYES as the only individual who could have
              taken one of the non-abuse images of her.

           c. At the time of the forensic interview, Minor 1’s mother told investigators
              that her brother JM has a young daughter aged 5 or 6 years. Investigators
              went to JM’s home and met with JM’s wife, KM, who confirmed that Minor
              2, a female toddler depicted in abuse images with EXIF data, is her
              daughter. The abuse images of Minor 2 contain the same EXIF data as
              Minor 1’s non-abuse photographs.

           d. WESLEY received a conviction for Child Sexually Abusive Activity –
              Distributing or Promoting in 2016.

           e. Additionally on January 10, 2022, HSI Grand Rapids Special Agents went
              to SUBJECT PREMISES and encountered WESTLEY JAMES KEYES.
              After securing the residence and later learning Minor 2 disclosed that
              KEYES pulled her underwear down and took pictures of her genitalia,
              KEYES was arrested on probable cause. KEYES was read his Miranda
              Warning and he consented to HSI Special Agents searching his bedroom.

           f. I am seeking authorization to search the electronic items seized from
              KEYES bedroom specified in Attachment A. There is probable cause that
              KEYES has produced child pornography, in violation of 18 U.S.C. §
              2251(a) and that KEYES has distributed or received of child pornography
              and possessed child pornography, in violation of 18 U.S.C. §§ 2252A(a)(2)
              and (a)(5)(b).

                                    II. JURISDICTION

    5. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711, 18 U.S.C. §§ 2703(a), (b)(1)(A)
& (c)(1)(A). Specifically, the Court is “a district court of the United States…. that has
jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

                                 III. PROBABLE CAUSE



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    6. In September of 2021 Homeland Security Investigations (HSI) Grand Rapids
received information from the HSI Cyber Crime Center (C3) Child Exploitation
Investigations Unit (CEIU) Victim Identification Program/Lab team in regards to a lead
from the Queensland Police Service (QPS) Child Abuse & Sexual Crime Group Task Force
ARGOS, consisting of current and former Law Enforcement personnel, regarding forty
two (42) child abuse images and fourteen (14) non-abuse images first shared by the Tor
user/profile ‘hotlips666’ on a dark web child exploitation chat site/forum from May of
2020.

    7. Queensland Police Service is actively investigating darknet boards that are known
to be dedicated to the proliferation of child exploitation material. During its investigation,
Queensland Police Service saw imagery posted by “Hotlips666” and sought to identify the
location depicted in the imagery.

           a. During Queensland Police Service’s review of the non-abuse image,
              89565549948.jpg, which depicts a pre-pubescent female wearing a bathing
              suit and standing on an informational panel next to a river/creek,
              Queensland Police Service ARGOS identified the outside location as the
              Historic Bridge Park in Battle Creek, Michigan.

           b. During Queensland Police Service ARGOS review of another non-abuse
              image, 565808938.jpg, which depicts the same child in a different location
              in a park setting. She is wearing a different bathing suit while laying on a
              picnic bench. Queensland Police Service ARGOS identified the outside
              location as the Ross Township Park, Hickory Corners, MI 49060.

           c. During Queensland Police Service ARGOS review of another non-abuse
              image, 565965000.jpg, which depicts the same child in residential area,
              Queensland Police Service ARGOS identified the outside location as being
              in front of the address 109 Hwy St, Battle Creek, Michigan. These locations
              were identified by Queensland Police Service ARGOS using manual man
              hours surfing open-source images and street-views of locations.

   8. In addition to Queensland Police Service ARGOS identification of several of these
images posted being taken in the Battle Creek, Michigan area, several other images posted
by “Hotlips666” and provided to HSI Grand Rapids, were found to have had EXIF data
embedded within the images.

           a. EXIF stands for Exchangeable Image File Format and refers to the basic
              metadata that is generated and stored by a camera when taking an image.
              EXIF data may include identification of the device used to capture the
              image, the date and time the image was captured, as well as the GPS
              location.

           b. This EXIF data, in some of the abuse and non-abuse images provided to
              HIS Grand Rapids show the images were taken with a Samsung phone,
              model #SM-G973U1 in June and August 2020.
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           c. There are two minors depicted separately in multiple images with EXIF
              data: a female teenager and a female aged approximately 2-4 years.

   9. Law enforcement identified a female teenager (Minor 1) depicted in several of the
non-abuse images with EXIF data.

    10. On January 10, 2022, Minor 1 was forensically interviewed by Homeland Security
Interview Specialist Amy Allen. The following is information obtained from that
interview:

           a. Minor 1 was shown 4 images. Minor 1 identified the location depicted in
              all four photographs as her grandparents’ home, the SUBJECT PREMISES.

                   i. Minor 1 stated the photographs were taken during a family reunion
                      which took place at the SUBJECT PREMISES. Minor 1 stated that
                      she was certain as to when the photographs were taken because she
                      had her nails done specifically for this event.

                  ii. It should be noted that 1 image depicts Minor 1’s manicure clearly:
                      false nails applied to each nail with alternating colors of white and
                      green (i.e. every other nail painted is painted green).

           b. The focus of one of the images is Minor 1’s genital area. Minor 1 stated
              that she is sitting on a bench in the SUBJECT PREMISES’ backyard in that
              image. The bench runs along a deck at ground level. Minor 1 recalled that
              when she was seated on the bench her two uncles, KEYES and MM, were
              in the immediate area. Minor 1 stated other people were also outside, but
              they were up on the deck. Minor 1 stated that her minor brother was also
              outside in the grass during this time, but he did not have a phone.

           c. Minor 1 described where MM and KEYES were seated/standing during
              their conversation at the bench. Based on that description, KEYES was in
              a position to take the image of Minor 1 seated on the bench, but MM was
              not.

    11. Following the forensic interview, I spoke with Minor 1’s mother. Minor 1’s mother
stated that she is aware that KEYES had previously been convicted of a crime involving
child pornography. Minor 1’s mother stated that her brother JM shared concerns with her
regarding his observation of KEYES taking photographs of children at times which did not
seem appropriate such as during a diaper change. Minor 1’s mother stated her brother JM
is married to KM and they have a female child whom she believes is currently 5 or 6 years
of age. Minor 1’s mother stated that KEYES currently resides at “SUBJECT PREMISES”
with KEYES’ grandparents, JK and RK.




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    12. On January 10, 2022, investigators went to JM and KM’s home. KM was home at
the time and agreed to speak with investigators. Investigators showed KM sanitized
versions of abuse images depicting Minor 2. KM confirmed that Minor 2 is her daughter.
KM produced to investigators a pair of underpants depicted in one of the images. KM
stated she is aware that KEYES has had a Samsung phone in the past because she
previously considered purchasing it from KEYES.

   13. Homeland Security Interview Specialist Amy Allen conducted a forensic interview
of Minor 2. During the interview Minor 2 reported that KEYES took photographs of her
genitalia.

    14. Due to safety concerns for KEYES and to prevent the destruction of evidence,
following KM’s positive identification of Minor 2 on January 10, 2022, HSI Grand Rapids
Special Agents went to the SUBJECT PREMISES to secure it and encountered KEYES,
JK and RK.

    15. JK and RK are KEYES’ grandparents and own the SUBJECT PREMISES. JK
and RK denied any knowledge of KEYES’ producing and/or possessing child
pornography. JK and RK provided consent to search the SUBJECT PREMISES. JK and
RK stated KEYES resides downstairs in a bedroom inside the SUBJECT PREMISES. JK
and RK, in summary, stated out of respect for KEYES’ privacy they do not enter or use
that space.

    16. After securing the residence and later learning Minor 2 disclosed that KEYES
pulled her underwear down and took pictures of her genitalia, KEYES was arrested on
probable cause. KEYES was read his Miranda Warning and he consented to HSI Special
Agents searching his bedroom.

    17. During the search of KEYES’ bedroom, investigators discovered the following
electronic devices:      Samsung Galaxy phone, model #SM-G973U1, IMEI
#352338107385419; Toshiba Satellite laptop, S/N #9B276675K; Acer laptop Model
#5315, S/N #81506623316; HP laptop Model #G60642NR, S/N#2CE01914SK; Omen
laptop, Model #15-EN1013DX, S/N#5CD1238S46; Samsung portable SSD external hard
drive, S/N #S5TFNJ0R103421A (collectively SUBJECT DEVICES).

  18. KEYES refused to provide his fingerprint or other passwords in order to access the
SUBJECT DEVICES.

   19. A review of KEYES’ criminal history revealed a 2016 conviction for Child
Sexually Abusive Activity – Distributing or Promoting and an address of “168 Thelma,
Battle Creek Michigan.”

    20. On January 11, 2022, following his initial court appearance in 1:22-MJ-00009,
KEYES provided me with the passcode to his Samsung Galaxy phone. I successfully
entered the passcode and placed the Samsung Galaxy in airplane mode.



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    21. Based upon my knowledge, experience, and training in child exploitation and child
pornography investigations, and the training and experience of other law enforcement
officers with whom I have had discussions, there are certain characteristics common to
individuals involved in the distribution, receipt, and collection of child pornography.
Individuals who possess, transport, receive, and/or distribute child pornography often seek out
like-minded individuals, either in person or on the Internet, to share information and trade
depictions of child pornography and child erotica. Such correspondence may take place,
for example, through online bulletin boards and forums, Internet-based chat messaging,
email, text message, video streaming, letters, telephone, and in person.

   22. In this case, communications as described above took place in different dark web
boards. Queensland Police Service provided HSI Grand Rapids with chat messages it
obtained from different dark web boards posted by the user profile of “Hotlips666.” Those
messages include the following:

                               i love them to be g 38 the for me
    2020-04-04T20:25:58.100Z

                               3-8
    2020-04-04T20:26:24.100Z
                               my bad all lmao
    2020-04-04T20:27:07.100Z


                               Hi Im into girls 3-8 I am a single father and will do my best share what I have and I like to participate in chat rooms
    2020-04-22T13:06:52.000Z


                               little girls are sooo hot
    2020-04-23T08:13:00.100Z
                               I haven't been able to find any good hurtcore lately
    2020-04-23T08:21:00.100Z


                               Is there anybody on here in to kill and little girls you so please PM me
    2020-05-14T08:21:46.000Z

                               Lookin for somebody and to killing little girls please PM
    2020-05-14T08:36:00.100Z
                               Man I love some good pussy
    2020-05-15T11:20:00.098Z


                               Look I don't like asking but I just got out of president lost all my collection does anybody have links to neurology ty
    2020-05-15T12:14:56.000Z

                               Prison
    2020-05-15T12:16:14.000Z
                               love dead pussy all day
    2020-05-15T13:10:46.000Z


                               I get to see my 3 yr niece today first time
    2020-05-15T13:50:00.100Z

                               And my brother is going to let me have her overnight so I'm so excited right now
    2020-05-15T13:51:00.100Z
                               I will be putting pic up later tonight
    2020-05-15T13:53:00.096Z


                               She going to be a good CP star soon
    2020-05-15T13:56:00.092Z




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                              yes a lot of nice people on here and that's why I jut pictures of my daughter's on here
   2020-05-17T11:00:54.100Z


                              I would seriously like it if somebody would kidnap her and one day find pictures of her on here so
   2020-05-17T11:11:29.100Z


                              A few days ago a guy was showing me pictures of dead little girls and I can't stop thinking about them
   2020-05-17T11:18:00.100Z


                              I love just think about what happens to these little girls that get kidnapped
   2020-06-05T17:18:00.100Z
                              Most jelly time it doesn't in well and I know at least half of the pictures I can find are at least kidnapped kids so hot
   2020-06-05T17:19:00.099Z


                              I would love to watch somebody snuff my daughter in front of me
   2020-06-13T13:40:58.000Z
                              she's 7
   2020-06-13T13:44:45.000Z


                              I would love to watch what would happen if I left my 8 year old daughter in a Room with all of you
   2020-06-17T14:23:00.100Z
                              So hot
   2020-06-17T14:28:00.097Z


                              I let her sleep out side in hopes someone will kidnap her
   2020-06-17T14:36:00.100Z


                              I hop you all like please pass her around
   2020-06-17T14:42:00.097Z
                              I promise if I see her passed around on here I will put more of her on here maybe even take request
   2020-06-17T14:43:00.100Z
                              Trying to make her in to a CP star
   2020-06-17T14:43:00.100Z

                              I'd love for all of you to give her some pedo dick
   2020-06-17T14:45:00.097Z
                              I'm just trying to pay it forward
   2020-06-17T14:46:00.098Z
                              No I'm not in to fucking my kid but I'll let others at her
   2020-06-17T14:47:00.098Z

                              I'd love it if you rape her
   2020-06-17T14:47:00.100Z
                              6
   2020-06-17T14:48:00.099Z


                              I'd love to have my niece to fuck a pig
   2020-07-06T12:40:59.000Z




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                               God i love being a pedo
    2020-12-07T10:02:00.100Z
                               To all LEA on here tonight I kidnapped my first sex toy
    2020-12-07T10:04:00.097Z
                               I will post the pictures soon she was a good fuck
    2020-12-07T10:04:00.098Z

                               most LEA love looking at CP and get paid for it
    2020-12-07T10:08:00.100Z
                               is BS
    2020-12-07T10:09:00.100Z
                               look on here they post pictures of kids get fuck and that
    2020-12-07T10:09:00.100Z
                               she was 7
    2020-12-07T10:14:00.099Z
                               does any one have necro or snuff link if so ty
    2020-12-07T11:03:00.100Z




   23. I reviewed the chat logs and identified the image (1eemq4jhe.jpg) that was sent on
08-02-2020, as a non-abuse image with EXIF data depicting Minor 1. The EXIF data in
“1eemq4jhe.jpg” matches EXIF data in the abuse and non-abuse images depicting Minor
2. The following are the chat messages:


                               my lovers
    2020-08-02T05:21:56.100Z


                             g.
                             [http://oju4yn237c6hjh42qothvpreqecnqjhtvh4sgn3fqmsdvhu5d5tyspid.onion/i/1eemq4jhe.jpg](http://oju4yn237c6hj
    2020-08-02T05:26:46.100Z
                             h42qothvpreqecnqjhtvh4sgn3fqmsdvhu5d5tyspid.onion/i/1eemq4jhe.jpg)




    24. Based upon my knowledge, experience, and training in child exploitation and child
pornography investigations, and the training and experience of other law enforcement
officers with whom I have had discussions, individuals may correspond with and/or meet
others to share information and materials; they rarely destroy correspondence from other
child pornography distributors/collectors; conceal such correspondence as they do their
sexually explicit material; and often maintain lists of names, addresses, screen names, and
telephone numbers of individuals with whom they have been in contact and who share the
same interests in child pornography. Evidence of this activity—including some or all of
the child pornography files themselves— would likely be located on the computer from
which the individual accessed the URL and the chat room and evidence of that activity
can be forensically recovered from the computer.

              IV. SPECIFICS OF SEIZING AND SEARCHING COMPUTER SYSTEMS

    25. Computers and Internet-capable devices such as tablets and cellular telephones
facilitate the collection and distribution of child pornography. The Internet affords
collectors of child pornography several different venues for obtaining, viewing, and trading
child pornography in a relatively secure and anonymous fashion.


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    26. Storage capacity of computers and portable storage media, such as USB or thumb
drives, has grown tremendously in recent years. These drives can store thousands of
images at very high resolution, are easily transportable, and are relatively inexpensive.
Advances in technology have significantly reduced the size of digital storage devices such
that now large numbers of digital files can be stored on media that will fit in a person’s
pocket, on a keychain, or in any number of easily transportable and concealable places. An
individual can now easily carry on his or her person storage media that contains thousands
of files, including images, video files, and full-length movie files.

    27. As with most digital technology, communications made from a computer device
are often saved or stored on that device. Storing this information can be intentional, for
example, by saving an email as a file on the computer or saving the location as a “favorite”
website in a “bookmarked” file. Digital information can also be retained unintentionally.
Traces of the path of an electronic communication may be stored automatically in many
places, such as temporary files or Internet Service Provider (ISP) client software, among
others. In addition to electronic communications, a computer user’s Internet activities
generally leave traces in a computer’s web cache and Internet history files.

    28. A forensic examiner often can recover evidence that shows whether a computer
device contains peer-to-peer software, when the device was sharing files, and some of the
files that were uploaded or downloaded. Computer files or remnants of such files can be
recovered months or even years after they have been downloaded onto a hard drive, deleted,
or viewed via the Internet.

    29. Electronic files downloaded to a hard drive can be stored for years at little or no
cost. Even when such files have been deleted, they can be recovered months or years later
using readily available forensic tools. When a person “deletes” a file on a computer, the
data contained in the file often does not actually disappear; rather, that data remains on the
hard drive until it is overwritten by new data. Therefore, deleted files, or remnants of
deleted files, may reside in free space or slack space – that is, in space on the hard drive
that is not allocated to an active file or that is unused after a file has been allocated to a set
block of storage space – for long periods of time before they are overwritten.

    30. Similarly, files that have been viewed via the Internet are automatically downloaded
into a temporary Internet directory or “cache.” The browser typically maintains a fixed
amount of hard drive space devoted to these files, and the files are only overwritten as they
are replaced with more recently viewed Internet pages. Thus, the ability to retrieve residue
of an electronic file from a hard drive depends less on when the file was downloaded or
viewed than on a particular user’s operating system, storage capacity, and computer habits.

    31. Searches and seizures of evidence from computers and computer devices
commonly require agents to download or copy information from the computers and their
components, or seize most or all computer items (computer hardware, computer software,
and computer related documentation) to be processed later by a qualified computer expert
in a laboratory or other controlled environment. This is almost always true because of the
following two reasons:


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            a. Computer storage devices can store the equivalent of millions of pages of
               information. Especially when the user wants to conceal criminal evidence,
               he or she often stores it in random order with deceptive file names. This
               requires searching authorities to examine all the stored data that is available
               in order to determine whether it is included in the warrant that authorizes
               the search. This sorting process can take days or weeks, depending on the
               volume of data stored, and is generally difficult to accomplish on-site.

            b. Searching computer systems for criminal evidence is a highly technical
               process requiring expert skill and a properly controlled environment. The
               vast array of computer hardware and software available requires even
               computer experts to specialize in some systems and applications, so it is
               difficult to know before a search which expert should analyze the system
               and its data. The search of a computer system is an exacting scientific
               procedure that is designed to protect the integrity of the evidence and
               recover even hidden, erased, compressed, password-protected, or encrypted
               files. Since computer evidence is extremely vulnerable to tampering or
               destruction (which may be caused by malicious code or normal activities of
               an operating system), the controlled environment of a laboratory is essential
               to its complete and accurate analysis.

     32. In order to retrieve data fully from a computer system, the analyst needs all storage
 devices as well as the central processing unit (CPU). In cases involving child pornography
 where the evidence consists partly of graphics files, the monitor(s) may be essential for a
 thorough and efficient search due to software and hardware configuration issues. In
 addition, the analyst needs all the system software (operating systems or interfaces, and
 hardware drivers) and any applications software that may have been used to create the data
 (whether stored on hard drives or on external media).

     33. Forensic examiners can also find the presence or absence of certain software and
 programs to determine who controlled a computer at a given time. Such evidence includes:
 viruses, Trojan horses, spyware, malware, and other forms of malicious software; the
 presence or absence of security software designed to detect malicious software; the lack of
 malicious software; and the presence or absence of software designed to protect a device
 from infiltration, access, or control by another person or entity, which may include pop-up
 blockers, security software, password protection, and encryption. Forensic examiners can
 also find evidence of software or programs designed to hide or destroy evidence.

     34. The time period required for a complete, safe, and secure forensic examination of
 the computer and storage media is uncertain. The Government will make available for
 pick-up within a reasonable time all items found not to contain any contraband or material
 to be seized pursuant to the warrant and all hardware and software no longer needed for
 examination purposes. In conducting the search, the forensic examiner and agents will
 examine files regardless of their name because such names and file extensions can be
 altered to conceal their actual content. Because of the volume of data to be searched and
 the need to complete the examination in a reasonable time, the forensic examiner will also
 use computer techniques such as keyword searches that may result in the display of

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 irrelevant materials.

                                  VI. REQUEST FOR SEALING

     35. I respectfully request that the Court issue an order sealing, until further order of this
 Court, all papers submitted in support of this application, including the application,
 continuation, attachments, and search warrant, and the requisite inventory notice. I believe
 sealing is necessary because premature disclosure of the contents of this continuation and
 related documents may jeopardize this continuing investigation by alerting the target and
 providing an opportunity to destroy evidence.

                                       VII. CONCLUSION

     36. I respectfully submit that there is probable cause to believe that WESTLEY JAMES
 KEYES, an individual who resides at 168 Thelma Drive, Emmet Township (Battle Creek),
 Michigan, is involved in the criminal violations of the following statutes: 18 U.S.C.
 § 2251(a) - Sexual Exploitation of Children (i.e. production of child pornography); 18
 U.S.C. §§ 2252A(a)(2) (distribution or receipt of child pornography) and 2252A(a)(5)(B)
 (possession of child pornography), and that evidence, fruits, and instrumentalities of those
 crimes are contained in the SUBJECT DEVICES listed in Attachment A.

     37. Because there is probable cause that evidence of the above offenses is located on
 the SUBJECT DEVICES seized from the SUBJECT PREMISES, I respectfully request
 that the Court issue a search warrant that would allow agents to search the electronic items
 seized as evidence from 168 Thelma Drive, Emmet Township (Battle Creek), Michigan.
 The items and information sought to be seized are more specifically described in
 Attachment B.




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